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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                       EL PASO DIVISION

 DC OPERATING, LLC d/b/a DREAMS;                              §
 NUVIA HEIDI MEDINA; and                                      §
 MICHELLE CORRAL,                                             §
                                                              §
             Plaintiffs,                                      §
                                                              §
 v.                                                           §                 EP-22-CV-00010-FM
                                                              §
 KEN PAXTON, in His Official Capacity                         §
 as Attorney General of the State of Texas;                   §
 ED SERNA, in His Official Capacity as                        §
 Executive Director of the Texas                              §
 Workforce Commission; UNKNOWN                                §
 COMMISSIONER OF THE TEXAS                                    §
 DEPARTMENT OF LICENSING AND                                  §
 REGULATION; RICHARD D. WILES,                                §
 in His Official Capacity as Sheriff of El                    §
 Paso County, Texas; and RICARDO A.                           §
 SAMANIEGO, in His Official Capacity as                       §
 County Judge of El Paso County, Texas,                       §
                                                              §
             Defendants.                                      §

                            ORDER GRANTING MOTIONS TO DISMISS

         Before the court are “Defendants Ricardo A Samaniego’s and Richard Wiles’, in Their

Official Capacities, Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)” (“County Defendants’

Motion”) [ECF No. 4], filed January 11, 2022 by Ricardo A. Samaniego, in his official capacity

as County Judge of El Paso County, Texas 1 and Richard Wiles, in his official capacity as Sheriff

of El Paso County, Texas (collectively, “County Defendants”); “State Defendants’ Motion to

Dismiss” (“State Defendants’ Motion”) [ECF No. 7], filed January 11, 2022 by Ed Serna in his

official capacity as Executive Director of the Texas Workforce Commission; and Ken Paxton, in


         1
            In “Partial Order of Dismissal” [ECF No. 15], the court dismissed Defendant Ricardo A. Samaniego due to
Plaintiffs’ failure to plead allegations against him. As such, the court does not address claims or arguments only made
with respect to him.

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his official capacity as Attorney General of the State of Texas; (collectively, “State

Defendants”); and “Plaintiffs’ Joint Response to Defendants’ Motions to Dismiss” (“Response”)

[ECF No. 22], filed February 23, 2022 by DC Operating, LLC; Nuvia Heidi Medina; and

Michelle Corral (collectively, “Plaintiffs”). County Defendants and State Defendants move to

dismiss Plaintiffs’ first amended complaint pursuant to Federal Rule of Civil Procedure (“Rule”)

12(b)(1) and 12(b)(6). 2 Upon due consideration of the County Defendants’ Motion, State

Defendants’ Motion, Response, and applicable law, the Motions are GRANTED.

I.      BACKGROUND

        A.         Senate Bill 315

        This action arises out of the Texas Legislature’s enactment of Senate Bill 315 (“S.B.

315”). 3 S.B. 315 is a law “relating to restrictions on the age of persons employed by or allowed

on the premises of a sexually oriented business; creating a criminal offense.” 4 Texas law defines

sexually oriented businesses as any:

        sex parlor, nude studio, modeling studio, love parlor, adult bookstore, adult movie
        theater, adult video arcade, adult movie arcade, adult video store, adult motel, or
        other commercial enterprise the primary business of which is the offering of a
        service or the selling, renting, or exhibiting of devices or any other items intended
        to provide sexual stimulation or sexual gratification to the customer. 5

        S.B. 315 amended various portions of existing Texas laws to effectively raise the

minimum legal age for working in a sexually oriented business from 18 to 21. First, Section 5 of

S.B. 315 amended Chapter 125 of the Texas Civil Practice & Remedies Code to make it a


        2
          “Defendants Ricardo A Samaniego’s and Richard Wiles’, in Their Official Capacities, Motion to Dismiss
Pursuant to Fed. R. Civ. P. 12(b)” (“Cnty. Def. Mot.”) 2, ECF No. 4, filed Jan. 11, 2022; “State Defendants’ Motion
to Dismiss” (“State Def. Mot.”) 10, ECF No. 7, filed Jan. 11, 2022.
        3
            TEX. S.B. 315, 87TH LEG. R.S. (2021).
        4
            Id.
        5
            TEX. LOC. GOV’T CODE § 243.002.

                                                         2
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common nuisance to “employ[] or enter[] into a contract for the performance of work or the

provision of a service with an individual younger than 21 years of age for work or services

performed at a sexually oriented business as defined by Section 243.002 of the Local

Government Code.” 6 Second, Section 6 of S.B. 315 amended several provisions of Chapter 51

of the Texas Labor Code, which regulates “Employment of Children,” to provide that “[a]

sexually oriented business may not employ or enter into a contract . . . for the performance of

work or the provision of a service with an individual younger than 21 years of age.” 7 A violation

of this provision now constitutes a Class A misdemeanor subject to a one-year jail sentence,

administrative penalties, or a suit for injunctive relief brought by the attorney general of Texas. 8

Finally, Section 8 of S.B. 315 amended Texas Penal Code Section 43.251 by changing its

definition of “child” to mean “a person younger than 21 years of age.” 9 As a result, a person

who “employs, authorizes, or induces” someone under 21-years-old to work in or with a sexually

oriented business is subject to felony charges. 10 S.B. 315 was enacted based on the need to

“provide necessary mechanisms to safeguard our communities and children from trafficking and

sexual exploitation, which are often harmful secondary effects of sexually oriented

businesses.” 11




         6
             TEX. S.B. 315, § 5, 87TH LEG. R.S. (2021) (amending TEX. CIV. PRAC. & REM. CODE § 125.0015(a)(19),
(22)).
         7
             TEX. S.B. 315, § 6, 87TH LEG. R.S. (2021) (amending TEX. LAB. CODE § 51.016(b)).
         8
             TEX. S.B. 315, § 7, 87TH LEG. R.S. (2021).
         9
             TEX. S.B. 315, § 8, 87TH LEG. R.S. (2021) (amending TEX. PENAL CODE § 43.251(a)(1)).
         10
              Id. at § 43.251(a)–(c).
         11
              SENATE RESEARCH CENTER, BILL ANALYSIS, TEX. S.B. 315, 87TH LEG. R.S. (2021).


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       B.             Factual Background

       Plaintiff DC Operating LLC, doing business as Dreams, is a non-alcohol, all-nude, adult

cabaret entertainment club in El Paso, Texas. 12 Dreams qualifies as a sexually oriented

business. Plaintiffs Nuvia Heidi Medina (“Medina”) and Michelle Corral (“Corral”) are exotic

dancers under 21-years-old currently employed by Dreams. 13

       Defendant Ken Paxton is the Attorney General of Texas. 14 As such, he is specifically

authorized to enforce Chapter 125 of the Texas Civil Practice & Remedies Code and Chapter 51

of the Texas Labor Code. 15 Defendant Ed Serna is the Executive Director of the Texas

Workforce Commission (“Commission”). 16 He is charged with the agency’s day-to-day

operations, including implementing policies set by the Commission and enforcing the Labor

Code. 17 Defendant Unnamed Commissioner of the Texas Department of Licensing and

Regulation issues licenses. 18 Lastly, Defendant Richard D. Wiles is the El Paso County

Sheriff. 19 Sheriff Wiles’ duty in relation to this action concerns issuing exotic dancers’ licenses

to perform in cabaret venues in El Paso County, Texas and enforcing the Texas Penal Code. 20




       12
            See “Supplemental Index of Documents Filed” (“Index”) 42, 57, ECF No. 3, filed Jan. 10, 2022.
       13
            Index 115–25.
       14
            Id. 42–43.
       15
            Id.
       16
            Id. 43.
       17
            Id.
       18
            Id.
       19
            Id.
       20
            Id.


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        C.         Procedural Background

        On December 13, 2021, Plaintiffs filed “Plaintiffs’ Original Petition for Declaratory and

Injunctive Relief Under the Uniform Declaratory Judgment Act” in state court alleging S.B. 315

violates both the Texas Constitution and United States Constitution.21 On December 19, 2021,

Plaintiffs filed their “First Amended Petition for Declaratory and Injunctive Relief Under the

Uniform Declaratory Judgment Act” raising the identical allegations and requesting the identical

relief. 22 On January 4, 2022, Defendants removed this cause to federal court. 23 On January 11,

2022, County Defendants filed County Defendants’ Motion 24 and State Defendants filed State

Defendants’ Motion. 25 Plaintiffs filed their Response on February 23, 2022. 26 Between the time

County and State Defendants’ Motions were filed, the court held a Temporary Injunction

Hearing via Zoom Video Conference. 27 After consideration of the parties’ arguments, the court

entered “Order Denying Plaintiffs’ Request for a Preliminary Injunction” [ECF No. 21], finding

Plaintiffs’ failed to establish a likelihood of success on the merits for each of their claims. 28




         21
            “Notice of Removal” (“Not. Removal”) 1, ECF No. 1, filed Jan. 4, 2022, “Original Petition for
Declaratory and Injunctive Relief Under the Uniform Declaratory Judgment Act” 4, ECF No. 1-5, Ex. 1. The court
uses the ECF page numbering, not the distinct document’s numbering, for purposes of citing to documents in ECF
1-5.
        22
             Index 38.
        23
             Not. Removal 1.
        24
             Cnty. Def. Mot. 1.
        25
             State Def. Mot. 1.
        26
             “Plaintiffs’ Joint Response to Defendants’ Motions to Dismiss” (“Resp.”) 1, ECF No. 22, filed Feb. 23,
2022.
        27
             See “Jan. 20, 2022 Hr’g Tr.” (“Hr’g Tr.”) 1, ECF No. 20, entered Feb. 4, 2022.
        28
             See “Order Denying Plaintiffs’ Request for a Preliminary Injunction” 23, ECF No. 21, entered Feb. 17,
2022.


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         After the filing of County Defendants’ Motion and State Defendants’ Motion, Defendant

Ricardo A. Samaniego and Defendant Unnamed Commissioner of the Texas Department of the

Licensing and Regulation were dismissed as parties to this cause as Plaintiffs conceded neither

played a role in the enforcement of the statute at issue. 29

         D.         Parties’ Arguments

         Plaintiffs challenge the constitutionality of S.B. 315, alleging S.B. 315’s amendments

transgress the United States Constitution’s First Amendment guarantees of freedom of speech

and association, Fourteenth Amendment’s Equal Protection Clause and Due Process Clause, and

the Texas Constitution’s equivalent provisions. 30 Further, Plaintiffs contend S.B. 315 renders the

Texas statutes it amended fatally vague and overbroad. 31 Plaintiffs request declaratory and

injunctive relief against enforcement of S.B. 315 by Defendants. 32

         County Defendants argue Plaintiffs’ amended complaint should be dismissed pursuant to

Rule 12(b)(1) as Plaintiffs lack standing to challenge the constitutionality of state laws against

County Defendants as they do not have the authority to enact state law. 33 Additionally, County

Defendants contend they should be dismissed as parties according to Rule 12(b)(1) as they are

not liable due to the protection of sovereign immunity nor liable under the doctrine of municipal

liability. 34




         29
              “Partial Order of Dismissal” 1, ECF No. 15, entered Jan. 25, 2022.
         30
              Index 54.
         31
              Id.
         32
              Id. 76–80.
         33
              Cnty. Def. Mot. 5–6.
         34
              Id. 10–13.


                                                           6
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        State Defendants contend Plaintiffs’ claims against an unnamed Commissioner of the

Texas Department of Licensing and Regulation in his/her official capacity fail under both Rules

12(b)(1) and 12(b)(6) as Plaintiffs have failed to adequately identify any defendant. 35 Further,

State Defendants argue Plaintiffs have failed to state a claim for relief under the First and

Fourteenth Amendments to the United States Constitution and the Texas Constitution’s

equivalent provisions. 36

        Plaintiffs contend the motions to dismiss should be denied as “[t]his is a case of first

impression” due to the “different set of facts not before presented to the federal courts.” 37

Additionally, Plaintiffs distinguish their case from “the Austin case” relied on by Defendants as

that case concerned an alcohol-selling establishment, but the establishment here is a non-alcohol

establishment. 38 The court concludes, after due consideration, Plaintiffs’ Response does little to

advance any of their arguments. Plaintiffs fail to plead more factual allegations or make

substantive legal argument, leading the court to rely on their amended Petition.

II.     LEGAL STANDARDS

        A.             Federal Rule of Civil Procedure 12(b)(1)

        Rule 12(b)(1) requires dismissal of a complaint for lack of subject-matter jurisdiction. 39

Federal courts are courts of limited jurisdiction.40 A case must be dismissed for lack of subject


         35
            State Def. Mot. 10–14. In “Partial Order of Dismissal” [ECF No. 15], the court dismissed Defendant
Unnamed Commissioner of the Texas Department of Licensing and Regulation due to Plaintiffs’ failure to plead
allegations against them. As such, the court does not address claims or arguments only made with respect to them.


        36
             Id. 14–29.
         37
              Resp. 10.
        38
             Id. 11.
        39
             FED. R. CIV. P. 12(b)(1).
        40
             Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994).

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matter jurisdiction when the court lacks the statutory or constitutional power to adjudicate it. 41

The plaintiff bears the burden of establishing jurisdiction to grant the relief requested. 42 A

motion to dismiss for lack of subject matter jurisdiction should be granted only if it appears

certain the plaintiff cannot prove any set of facts in support of their claim that would entitle them

to relief. 43 When a Rule 12(b)(1) motion is filed in conjunction with other Rule 12 motions, the

court should consider jurisdictional attack before addressing any attack on the merits. 44

         B.         Federal Rule of Civil Procedure 12(b)(6)

         Rule 12(b)(6) allows dismissal of a complaint for “failure to state a claim for which relief

can be granted.” “[T]he central issue is whether, in the light most favorable to the plaintiff, the

complaint states a valid claim for relief.” 45 To survive a motion to dismiss, a plaintiff must plead

“enough facts to state a claim to relief that is plausible on its face.” 46 “The plausibility standard

is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” 47 “[F]acial plausibility” exists “when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” 48 Therefore, a complaint is not required to set out “detailed factual


         41
              Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998).
        42
           Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001); Menchaca v. Chrysler Credit Corp., 613
F.2d 507, 511 (5th Cir. 1980).
         43
              Home Builders Ass'n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998).
         44
              Hitt v. City of Pasadena, 561 F.2d 606, 608 (5th Cir. 1977) (per curiam).
          45
             Great Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 313 (5th Cir. 2002)
(internal quotation marks and citation omitted); see also In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th
Cir. 2007).

         46
              Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

         47
              Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

         48
              Id. (citing Twombly, 550 U.S. at 556).

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allegations,” but it must provide “more than labels and conclusions, and a formulaic recitation of

the elements of a cause of action.” 49 Although the court must accept well-pleaded allegations in

a complaint as true, it does not afford conclusory allegations similar treatment. 50

III.    DISCUSSION

        A.            County Defendants’ Sovereign Immunity

        The County Defendants argue Plaintiffs lack standing to bring the present suit as the

county sheriff does not have “the authority to enact state laws.” 51 They further argue “there is no

real controversy . . . which can actually be determined by the relief sought by Plaintiffs.” 52 In

support, the County Defendants cite to both the Texas Constitution and Rule 12(b)(1). Despite

the County Defendants’ citations, their arguments appear to be not that Plaintiffs lack standing

but that County Defendants are shielded from suit due to the doctrine of state sovereign

immunity. The court analyzes the County Defendants’ arguments under the state sovereign

immunity doctrine as they claim they “do not have the authority to enact state laws as that duty is

provided solely to the legislative branch of the State of Texas.” 53 Additionally, the County

Defendants emphasize they “have not enacted laws affecting Plaintiff because they cannot do

so.” 54 These arguments are framed in language that suggests the County Defendants are shielded

from suit, not in language that argues Plaintiffs fail to meet the constitutional standing outlined




        49
             Twombly, 550 U.S. at 555.
        50
            See Kaiser Aluminum & Chem. Sales, Inc., 677 F.2d 1045, 1050 (5th Cir. 1982) (citing Associated
Builders, Inc. v. Ala. Power Co., 505 F.2d 97, 100 (5th Cir. 1974)).

        51
             Cnty. Def. Mot. 5.
        52
             Id. 6.
        53
             Id. 5.
        54
             Id. 6.

                                                        9
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by the Texas Supreme Court or United States Supreme Court. 55 Therefore, the court proceeds

with its analysis.

         The Eleventh Amendment to the Federal Constitution bars federal courts from

“entertain[ing] a private person’s suit against a State.” 56 Supreme Court precedent interprets the

amendment as States “retain[ing] their traditional immunity from suit, ‘except as altered by the

plan of the Convention or certain constitutional amendments.’” 57 In Ex Parte Young, the Court

established a limit to the Eleventh Amendment’s sovereign immunity principle. 58 There, the

Court held if a state official seeks to enforce an unconstitutional legislative enactment, said

official “comes into conflict with the superior authority of [the] Constitution, and he is in that

case stripped of his official or representative character.” 59 Therefore, “the state has no power to

impart to him any immunity from responsibility to the supreme authority of the United States.” 60

This doctrine rests on the principle “that when a federal court commands a state official to do




         55
            See Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (citing Lujan v. Defenders of Wildlife, 504 U.S.
555, 560–61 (1992) (To establish standing “[t]he plaintiff must have (1) suffered an injury in fact, (2) that is fairly
traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial
decision.”); Heckman v. Williamson Cnty, 369 S.W. 3d 137, 154 (Tex. 2012) (The standing test under the Texas
Constitution “parallels the federal test for Article III standing.”).
         56
              Virginia Off. for Prot. and Advoc. v. Stewart, 563 U.S. 247, 254 (2011).
         57
              Id. at 253 (quoting Alden v. Maine, 527 U.S. 706, 713 (1999)).
         58
              Id. at 254.
         59
              Ex Parte Young, 209 U.S. 123, 159–60 (1908).
         60
              Id. at 160.


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nothing more than refrain from violating federal law, he is not in the State for sovereign-

immunity purposes.” 61

       Pursuant to Ex Parte Young, plaintiffs may sue State officials for prospective injunctive

relief under federal law despite the Eleventh Amendment’s language. Ex Parte Young and its

progeny allow suit when a state official has the authority to enforce an allegedly unconstitutional

statute—not when the official has the authority to enact said statute. 62 Plaintiffs are suing

Defendant Sheriff Wiles in his official capacity as the El Paso County Sheriff. Due to his ability

to enforce S.B. 315 through his authority to issue licenses to dancers who wish to perform at an

establishment such as Dreams, he does not enjoy immunity from suit.63

       B.            First Amendment

       County Defendants contend Plaintiffs have failed to state a claim upon which relief can

be granted under the First Amendment as “[l]aws of general application which restrict a person’s

employment do not by themselves violate constitutional protections.” 64 Additionally, County

Defendants argue “Plaintiffs have failed to establish how the prohibition of employment of 18 to

20 year olds has violated the freedom of expression and association.” 65 Likewise, State

Defendants argue S.B. 315 does not violate the First Amendment either facially or as-applied to

the facts of this case. 66 Regarding the as-applied challenge, State Defendants contend the court

“should apply the intermediate scrutiny standard required by [United States] v. O’Brien” as the


       61
            Stewart, 563 U.S. at 254.
       62
            See Ex Parte Young, 209 U.S. at 159–62.
       63
            Index 43.
       64
            Cnty. Def. Mot. 6 (citing Blackburn v. City of Marshall, 42 F.3d 925, 941 (5th Cir. 1995)).
       65
            Id. 7.
       66
            State Def. Mot. 14–19.

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law is a “time, place, and manner restriction of employment rather than speech, and because the

speech at issue in this case is not inherently expressive.” 67 Regarding the facial challenge, State

Defendants argue S.B. 315 does not violate the First Amendment as-applied, so it necessarily

cannot be facially unconstitutional.68

                       1.   First Amendment As-Applied Challenge

        A party invoking the First Amendment’s protection has the burden of proving it applies. 69

To determine whether an individual is entitled to First Amendment protection, the court “must

first determine whether [the conduct at issue] constituted expressive conduct, permitting”

invocation of the First Amendment. 70 If the conduct was expressive, the court “next decide[s]

whether the State’s regulation is related to the suppression of free expression.” 71 If the State’s

regulation is not related to expression, the O’Brien test controls. 72 If the regulation is expressive,

the court must review the challenged law under “a more demanding standard.” 73

        The Supreme Court has long rejected “the view that an apparently limitless variety of

conduct can be labeled ‘speech’ whenever the person engaging in the conduct intends thereby to

express an idea.” 74 However, when “[a]n intent to convey a particularized message was present,



        67
             Id.
        68
             Id. 18.
         69
            See Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293 n.5 (1984) (“Although it is common to
place the burden upon the Government to justify impingements on First Amendment interests, it is the obligation of
the person desiring to engage in assertedly expressive conduct to demonstrate that the First Amendment even
applies.”).
        70
             Texas v. Johnson, 491 U.S. 397, 403 (1989) (citing Spence v. Washington, 418 U.S. 405, 409–11 (1974)).
        71
             Id. (citing United States v. O’Brien, 391 U.S. 367, 377 (1968); Spence, 418 U.S. at 414).
        72
             Id.
        73
             Id.
        74
             O’Brien, 391 U.S. at 376.

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and in the surrounding circumstances the likelihood was great that the message would be

understood by those who viewed it,” conduct is expressive enough to fall within the bounds of

the First Amendment. 75 The Court has also long held nude dancing performed for entertainment

is expressive conduct protected by the First Amendment. 76 Thus, the court finds the nude

dancing involved in this case protected by the First Amendment.

        Under O’Brien, S.B. 315 will be “sufficiently justified if [1] it is within [Texas’]

constitutional power; [2] it furthers an important or substantial governmental interest; [3] the

governmental interest is unrelated to the suppression of free expression; and [4] the incidental

restriction on alleged First Amendment freedoms is no greater than is essential to the furtherance

of that interest.” 77 Plaintiffs concede Texas “had the constitutional power to enact the law and

rooted it in the purported justification of combatting human trafficking and associated crimes.” 78

Thus, the only O’Brien factors Plaintiffs contest are the second and fourth.

        Regarding the second factor, Plaintiffs argue banning 18- to 20-year-olds from working

at all sexually oriented businesses “does not further the government’s interest in combatting

human trafficking and related crimes.” 79 State Defendants, however, contend regulating the

secondary effect of sexually oriented businesses “is a compelling state interest in this case” as it

allows the government to combat human trafficking. 80 S.B. 315 “does not attempt to regulate the



        75
             Spence, 418 U.S. at 410–11.
        76
          See City of Erie v. Pap’s A.M., 529 U.S. 277, 289 (2000); Barnes v. Glen Theatre, Inc., 501 U.S. 560,
565–66 (1991) (plurality opinion); Schad v. Mount Ephraim, 452 U.S. 61, 66 (1981).
        77
             O’Brien, 391 U.S. 376.
        78
           Not. Removal, “First Amended Original Petition for Declaratory and Injunctive Relief Under the
Uniform Declaratory Judgment Act” (“Am. Pet.”) 140, ECF No. 1-5, Ex. 4.
        79
             Id.
        80
             State Def. Mot. 16.

                                                        13
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primary effects of the expression, i.e., the effect on the audience of watching nude erotic

dancing, but rather the secondary effects, such as the impacts on public health, safety, and

welfare. . . .” 81 Additionally, to survive the second O’Brien factor, the State need only show “a

reasonable belief that there is a link between the regulation and the curbing of the identified

secondary effects.” 82 The State has provided evidence and testimony supporting its belief that

regulating employment at sexually oriented businesses is linked to curbing human trafficking. 83

Thus, the State has met the second O’Brien factor.

       S.B. 315 also survives the fourth O’Brien factor. Plaintiffs contend the restriction is “far

greater than essential [as a] state’s interest in protecting children from trafficking and sexual

exploitation . . . does not justify the total suppression of all forms of legitimate and lawful work

that may be performed by 18-20-year-old adults at [a sexually oriented business].” 84 The State

Defendants argue “the prevention of human trafficking would be achieved far less effectively

absent this total prohibition on [sexually oriented business] employment by younger Texans” as

the “scourge of human trafficking is not limited solely to the stage at a strip club.” 85 The

“requirement of narrow tailoring is satisfied ‘so long as the . . . regulation promotes a substantial

government interest that would be achieved less effectively absent the regulation.’” 86 The State

has presented evidence human trafficking is prevalent at sexually oriented businesses.




       81
            City of Erie, 529 U.S. at 291.
       82
            Doe I v. Landry, 909 F.3d 99, 110 (5th Cir. 2018).
       83
            See Hr’g Tr. 76:11–77:11.
       84
            Am. Pet. 140.
       85
            State Def. Mot. 17.
       86
            Landry. 909 F. 3d at 111.


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Moreover, the State has shown young people are particularly vulnerable to human trafficking as

they tend to be “easier to manipulate.” 87 Therefore, the State has met the fourth O’Brien factor.

                    2.       First Amendment Overbreadth Challenge

         “A law implicating the right to expression may be . . . invalidated on a facial challenge if

‘a substantial number of its applications are unconstitutional, judged in relation to the statute’s

plainly legitimate sweep.’” 88 “[S]atisfying O’Brien, when that is the appropriate test, will

usually obviate the need to analyze the different requirement that the ‘overbreadth of a statute

must not only be real, but substantial as well, judged in relation to the statute’s plainly legitimate

sweep.’” 89 As O’Brien is satisfied, the court does not find S.B. 315 constitutionally overbroad.

         C.         Fourteenth Amendment Equal Protection and Article I Equal Protection

         Plaintiffs also challenge S.B. 315 under the Equal Protection Clause of the Fourteenth

Amendment and the Equal Protection Clause of the Texas Constitution as the law renders all

individual Plaintiffs “categorically ineligible to provide any form of work involving expressive

activity at or for” a sexually oriented business. 90 Plaintiffs further argue S.B. 315 is

unconstitutional as “it singles-out [sexually oriented businesses] for discriminatory treatment.” 91

The State Defendants argue S.B. 315 does not violate the Equal Protection Clause as “[k]eeping




         87
              See Hr’g Tr. 70:11–71:23.

          Voting for America, Inc. v. Steen, 732 F.3d 382, 387 (5th Cir. 2013) (quoting United States v. Stevens,
         88

559 U.S. 460, 473 (2010)).
         89
              Landry, 909 F.3d at 111 (quoting New York v. Ferber, 458 U.S. 747, 770 (1982) (second-level quotations
omitted)).
         90
              Am. Pet. 136–38.
         91
              Id. 137.


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young people away from the [sexually oriented business] effect of human trafficking is rationally

related to the State’s legitimate interest in curtailing human trafficking.” 92

                    1. Equal Protection Clause As-Applied Challenge

         An “equal protection analysis requires strict scrutiny of a legislative classification only

when the classification impermissibly interferes with the exercise of a fundamental right or

operates to the peculiar disadvantage of a suspect class.” 93 Age is not a suspect classification. 94

Thus, “the government ‘may discriminate on the basis of age without offending’ the

constitutional guarantee of equal protection ‘if the age classification in question is rationally

related to a legitimate state interest.’” 95 A government action will not be overturned under

rational basis review “unless the varying treatment of different groups or persons is so unrelated

to the achievement of any combination of legitimate purposes that [the court] can only conclude

that the legislature’s actions were irrational.” 96 “[B]ecause an age classification is presumptively

rational, the individual challenging its constitutionality bears the burden of proving that the ‘facts

on which the classification is apparently based could not reasonably be conceived to be true by




         92
              State Def. Mot. 25.
         93
              Mass. Bd. of Retirement v. Murgia, 427 U.S. 307, 312 (1976).
         94
            See id. at 312–14 (stating, where the alleged suspect class is a group of officers over 50-years-old, “strict
scrutiny is not the proper test” as the statute at issue does not impermissibly interfere with a fundamental right or
operate “to the peculiar disadvantage of a suspect class”).
        95
           Nat’l Rifle Ass’n of America, Inc. v. Bureau of Alcohol, Tobacco, Firearms, and Explosives, 700 F.3d
185, 212 (5th Cir. 2012) (quoting Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 84 (2000)).
         96
              Vance v. Bradley, 440 U.S. 93, 97 (1979).


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the governmental decisionmaker.’” 97 Finally, the federal Equal Protection Clause’s “analytical

approach applies to equal protection challenges under the Texas Constitution.” 98

       S.B. 315 does not violate Medina or Corral’s equal protection rights. Texas’ interest in

keeping young people away from the human trafficking effect of sexually oriented businesses is

rationally related to its interest in combatting human trafficking. The rational basis test is very

deferential to a State’s chosen efforts to confront a stated interest. During the preliminary

injunction hearing, the State’s witness from the Attorney General’s Human Trafficking and

Transnational Organized Crime Unit testified to the State’s reason for raising the minimum age

of employment or contract work at sexually oriented businesses. 99 The witness’s testimony that

“[t]he vast majority of sex trafficking victims, in the ten years [she] saw, were between the ages

of 13 and 20” as a part of the basis for S.B. 315’s enactment is rationally related to the State’s

interest in combatting human trafficking. 100 As the court has already stated, age is not a suspect

classification, and Plaintiffs have not shown their right to work at a sexually-oriented business is

a fundamental right. Therefore, Plaintiffs’ have failed to state an equal protection claim on

behalf of Medina and Corral.

       Nor does S.B. 315 violate Dream’s Equal Protection rights. Despite Plaintiffs’ argument

that sexually oriented businesses have been unconstitutionally singled-out by S.B. 315, they fail

to show how the law is not rationally related to Texas’ intent to combat human trafficking. It

does not matter that Texas could impose restrictions on other industries to combat human



       97
            Kimel, 528 at 84, quoting Bradley, 440 at 111.
       98
            Bell v. Low Income Women of Texas, 95 S.W.3d 253, 266 (Tex. 2002).
       99
            See Hr’g Tr. 75:25-77:11.
       100
             Id.


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trafficking. All the court may consider under rational basis review is whether the legislature’s

actions were rationally related to its purpose. The court finds they were.

                     2. Equal Protection Facial Challenge

         Plaintiffs’ facial challenge to S.B. 315 also fails. Facial challenges to statutes in non-

First Amendment cases “will succeed only if the plaintiff establishes that the act is invalid under

all of its applications.” 101 That S.B. 315 “might operate unconstitutionally under some

conceivable set of circumstances is insufficient to render it wholly invalid. . . .” 102 Plaintiffs’

have not stated a claim for which relief can be granted as-applied. Therefore, their facial

challenge must be dismissed.

         D.          Fourteenth Amendment Due Process and Article 1 Due Course

         Plaintiffs final constitutional challenges to S.B. 315 are under the Due Process Clause of

the Fourteenth Amendment and the Texas Constitution’s Due Course of Law Protection. 103

Plaintiffs contend S.B. 315 is invalid facially and as-applied to their case as the “increased

minimum age requirements violate all of the individual Plaintiffs’[] substantive due process

rights to enjoy occupational liberty without arbitrary interference from the State.” 104 Plaintiffs

also argue S.B. 315 deprives them of “privileges, licenses, certificates, and franchises that

qualify as property interests for purposes of procedural due process.” 105 The County Defendants




         101
            Voting for Am., Inc. v. Steen, 732 F.3d 382, 387 (5th Cir. 2013) (citing United States v. Salerno, 481
U.S. 739, 745 (1987)).
         102
               Salerno, 481 U.S. at 745.
         103
               Am. Pet. 129–36.
         104
               Id. 23.
         105
            Id. 26 (quoting Wells Fargo Armored Serv. Corp. v. Georgia Pub. Serv. Comm’n, 547 F.2d 938, 941
(5th Cir. 1977) (internal quotations omitted)).


                                                         18
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argue Plaintiffs’ claims under these provisions fail as they “fail to establish how a judgment or

order from this [court against the County Defendants] may provide relief to Plaintiffs.” 106 The

State Defendants also argue Plaintiffs’ claims fail as Medina and Corral do not allege why

requiring them “to forestall their careers as a particular kind of dancer in a particular kind of

establishment runs afoul of the deferential due process standard.” 107 Additionally, the State

Defendants contend any loss of a sexually-oriented business license “by Plaintiffs is the result of

a rationally-based exercise of police power in pursuit of a compelling and substantial state

interest.” 108 Finally, the State Defendants argue since Plaintiffs’ cannot meet the as-applied

burden, their facial challenges also fail. 109

                    1. Challenge Regarding Occupational Liberty Interests

        The Fourteenth Amendment provides “a constitutionally protected liberty interest in

pursuing a chosen occupation.” 110 “[T]he liberty component of the Fourteenth Amendment’s

Due Process Clause includes some generalized due process right to choose one’s field of private

employment, but a right which is nevertheless subject to reasonable government regulation.” 111

This recognized interest is subject to the most deferential form of scrutiny—rational basis. 112

“Moreover, the burden is not upon the state to establish the rationality of its restriction, but upon




        106
              Cnty. Def. Mot. 8.
        107
              State Def. Mot. 21.
        108
              Id. 22.
        109
              Id.
        110
              Stidham v. Texas Commission on Private Sec., 418 F.3d 486, 491 (5th Cir. 2005).
        111
              Conn v. Gabbert, 526 U.S. 286, 291–92 (1999).
        112
              See Williamson v. Lee Optical of Oklahoma, Inc., 348 U.S. 483, 487—88 (1955).


                                                         19
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the challenger to show that the restriction is wholly arbitrary.” 113 Thus, the court must determine

whether Plaintiffs have pleaded enough facts to state a claim showing Texas’ age restrictions

regarding employment at sexually-oriented businesses are not rationally related to Texas’ interest

in combatting human trafficking.

        As the State Defendants note, “governments have long used age restrictions on

employment to reduce young people’s exposure to perceived social ills. . . .” 114 Under the

deferential rational basis review analysis, the court can only find S.B. 315 unconstitutional if

Plaintiffs show that it is wholly arbitrary. Plaintiffs plead no facts to suggest S.B. 315 is even

merely arbitrary. Further, the State has provided ample evidence showing its belief that

restricting the age of employment at sexually oriented businesses is rationally related to its

interest in combatting human trafficking. 115 Therefore, the court cannot find they state a claim

for which relief can be granted.

                    2. Challenge Regarding Interest in Obtaining Licenses

        “Privileges, licenses, certificates, and franchises . . . qualify as property interests for

purposes of procedural due process.” 116 However, “due process only becomes relevant where

such property is ‘deprived.’” 117 Therefore, “to determine whether a constitutional violation has




        113
              Karr v. Schmidt, 460 F.2d 609, 617 (5th Cir. 1972).
        114
              State Def. Mot. 20.
        115
            See generally Hr’g Tr. 67:16–79:13 (In her testimony for State Defendants, the Division Chief of the
Texas Attorney General’s Human Trafficking and Transnational Organized Crime Unit provided detail about the
State Legislature’s belief that the passage of S.B. 315 would aid the State in combatting human trafficking.).
        116
              Wells Fargo Armored Serv. Corp. v. Ga. Pub. Serv. Comm’n, 547 F.2d 938, 941 (5th Cir. 1977).
        117
              Id.


                                                          20
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occurred, it is necessary to ask what process the State provided, and whether it was

constitutionally adequate.” 118

         Again, the burden rests with Plaintiffs to show they have a property interest in a sexually

oriented business license, and that interest was violated under the Due Process Clause. However,

Plaintiffs’ fails to allege exactly what license(s) they are entitled to, what privileges the license(s)

may afford, or what process they were owed by Texas under the Constitution. The court

emphasizes S.B. 315 is presumed to be valid under rational basis review, unless the Plaintiffs can

meet their large burden. The Due Process Clause is only relevant when a property interest, such

as a license, has been deprived. Plaintiffs argue “S.B. 315 has taken away, or at least threatens to

take away, [Medina and Corral’s] right to use [permits from the State of Texas and EL Paso

County” to provide exotic dancing . . . solely because of their age.” 119 Medina, however, has

conceded despite being under 21-years-old at the time S.B. 315 went in effect, her license was

renewed. 120 As such, Plaintiffs fail to meet their burden of pleading factual allegations to state a

claim for relief.

                    3. Vagueness Challenge

         As stated above, facial challenges to statutes in non-First Amendment cases “will succeed

only if the plaintiff establishes that the act is invalid under all of its applications.” 121 That S.B.

315 “might operate unconstitutionally under some conceivable set of circumstances is


         118
               Zinermon v. Burch, 494 U.S. 113, 126 (1990).
         119
               Am. Pet. 133.
         120
            S.B. 315 was effective on May 24, 2021. See TEX. S.B. 315, 87TH LEG. R.S. (2021). During the court’s
preliminary injunction hearing, Medina stated she renewed her sexually-oriented business license “in September of
2021,” and she will not be 21 until after September 2022. See Hr’g Tr. 39:23–40:24.
         121
            Voting for Am., Inc. v. Steen, 732 F.3d 382, 387 (5th Cir. 2013) (citing United States v. Salerno, 481
U.S. 739, 745 (1987)).


                                                         21
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insufficient to render it wholly invalid. . . .” 122 Plaintiffs have failed to state a claim for which

relief can be granted as-applied to their circumstances. As this makes it impossible for the

statute to be invalid under all of its applications, their facial challenge to S.B. 315 must also be

dismissed.

IV.     CONCLUSION

        Plaintiffs have failed to state a claim for which relief can be granted under the First

Amendment, Fourteenth Amendment Due Process and Equal Protection Clauses and the Texas

Constitution’s equivalent provisions. Therefore, all claims against the remaining County and

State Defendants must be dismissed.

        Accordingly:

                1. It is HEREBY ORDERED that “Defendants Ricardo A Samaniego’s and
                   Richard Wiles’, in Their Official Capacities, Motion to Dismiss Pursuant to Fed.
                   R. Civ. P. 12(b)” [ECF No. 4] is GRANTED.

                2. It is FURTHER ORDERED that “State Defendants’ Motion to Dismiss” [ECF
                   No. 7] is GRANTED.

        SIGNED AND ENTERED this 14th day of June 2022.




                                                        FRANK MONTALVO
                                                        UNITED STATES DISTRICT JUDGE




        122
              Salerno, 481 U.S. at 745.

                                                   22
